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             IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DIVISION OF TEXAS
                      BEAUMONT DIVISION



                                 No. 1:03-CR-145




 United States of America

 v.

 James Alvin Godfrey

                                              Defendant



           Report and Recommendation of United States Magistrate Judge
                       Re: Defendant’s Motion to Withdraw


       This report addresses defense counsel’s “Motion to Withdraw” (Dkt. No.
 137).1 At the hearing on January 27, 2010, the court heard from both defendant
 and his counsel. The undersigned found that there is no basis for concluding
 that counsel has a conflict of interest or other impediment that would constitute
 ineffective assistance of counsel.

       In absence of such evidence, there is no legitimate basis for granting the
 motion relating to withdrawal of defendant’s court-appointed counsel. In United
 States v. Moore, 706 F.2d 538, 540 (5th Cir. 1983), the court held that:




       1
             This case is assigned to Hon. Marcia A. Crone. Defendant’s motion
 was referred to the undersigned for report and recommendation on January 5, 2010.

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       A defendant is entitled to counsel capable of rendering competent,
       meaningful assistance in the preparation and trial of the pending
       charges, including appropriate evaluation and advice with reference to
       a plea of guilty. A defendant is not entitled to an attorney who agrees
       with the defendant’s personal view of the prevailing law or the equities
       of the prosecutor’s case. A defendant is entitled to an attorney who will
       consider the defendant’s views and seek to accommodate all reasonable
       requests with respect to trial preparation and trial tactics. A defendant
       is entitled to appointment of an attorney with whom he can communi-
       cate reasonably, but has no right to an attorney who will do docilely as
       he is told. Every defendant is entitled to the assistance of counsel
       dedicated to the proposition, and capable of assuring that, the prosecu-
       tion’s case shall be presented in conformity with the Constitution, rules
       of evidence and all other controlling rules and practices. No defendant
       has a right to more.
 Here, the court has provided defendant with such counsel.                 If defendant
 deliberately chooses not to cooperate, assist, and communicate with counsel, he
 cannot later complain. Autry v. McKaskle, 727 F.2d 358, 361 (5th Cir. 1984))
 (“By no measure can [the defendant] block his lawyer’s efforts and later claim
 the resulting performance was constitutionally deficient.”).

                                  R ECOMMENDATION

       It is therefore recommended that defense counsel’s “Motion to Withdraw”
 (Dkt. No. 137) be denied.

                                      O BJECTIONS

       Objections must be: (1) specific, (2) in writing, and (3) served and filed
 within fourteen days after being served with a copy of this report. See 28 U.S.C.
 § 636(b)(1); F ED. R. C IV. P. 1(a), 6(b), and 72(b).

       A party’s failure to object bars that party from: (1) entitlement to de novo
 review by a district judge of proposed findings and recommendations, see
 Rodriguez v. Bowen, 857 F.2d 275, 276-77 (5th Cir. 1988), and (2) appellate


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 review, except on grounds of plain error, of unobjected-to factual findings and
 legal conclusions accepted by the district court, see Douglas v. United Servs.
 Auto. Ass’n., 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc).




       SIGNED this 28 day of January, 2010.




                                      ______________________________________
                                      Earl S. Hines
                                      United States Magistrate Judge




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